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1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     TACUMA J. M'WANZA-EL,                                   Case No. 3:19-cv-00679-MMD-WGC
4                                            Plaintiff                   ORDER
5            v.
6     SCOTT DAVIS et al.,
7                                        Defendants
8
9    I.     DISCUSSION

10          According to the Nevada Department of Corrections (“NDOC”) inmate database,

11   Plaintiff is no longer incarcerated. The Court denies the application to proceed in forma

12   pauperis for prisoners (ECF No. 1) as moot because Plaintiff is no longer incarcerated.

13   The Court now directs Plaintiff to file an application to proceed in forma pauperis by a

14   non-prisoner on or before Monday, November 30, 2020, or pay the full filing fee of $400.

15   II.    CONCLUSION

16          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed

17   in forma pauperis for prisoners (ECF No. 1) is DENIED as moot.

18          IT IS FURTHER ORDERED that the Clerk of the Court WILL SEND Plaintiff the

19   approved form application to proceed in forma pauperis by a non-prisoner, as well as the

20   document entitled information and instructions for filing an in forma pauperis application.

21          IT IS FURTHER ORDERED that on or before Monday, November 30, 2020,

22   Plaintiff will either: (1) file a fully complete application to proceed in forma pauperis for

23   non-prisoners; or (2) pay the full filing fee of $400.

24          IT IS FURTHER ORDERED that, if Plaintiff fails to timely comply with this order,

25   this case may be subject to dismissal without prejudice.

26                     27thday of October 2020.
            DATED THIS ___

27
28                                               UNITED STATES MAGISTRATE JUDGE
